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                United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                     ____________


No. 22-3086                                                 September Term, 2023
                                                                       1:21-cr-00670-CJN-1
                                                     Filed On: October 25, 2023 [2023682]
United States of America,

              Appellee

      v.

Stephen K. Bannon,

              Appellant

                                        ORDER

        It is ORDERED, on the court's own motion, that the following times are allotted
for the oral argument of this case scheduled for November 9, 2023, at 2:00 P.M.:

                    Appellant                    -                 10 Minutes

                    Appellee                     -                 10 Minutes.

        One counsel per side to argue. The panel considering this case will consist of
Circuit Judges Pillard, Walker, and Garcia.

      Form 72, which may be accessed through the link on this order, must be
completed and returned to the Clerk's Office by October 27, 2023.

                                       Per Curiam

                                                          FOR THE COURT:
                                                          Mark J. Langer, Clerk

                                                 BY:      /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk

The following forms and notices are available on the Court's website:

      Notification to the Court from Attorney Intending to Present Argument (Form 72)
